«Case 16-33174-hdh7 Doc 372 Filed 02/19/18 Entered 02/19/18 16:04:52 Page 1 of 14

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COUNSEL FOR CREDITOR AIG

IN THE UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
IN RE: § CASE NO. 16-33174
RINCON ISLAND LIMITED
PARTNERSHIP § CHAPTER 7
DEBTOR.

AIG’S MOTION FOR RELIEF FROM THE AUTOMATIC STAY
REGARDING BONDS AND INSURANCE POLICY

PURSUANT TO LOCAL BANKRUPTCY RULE 4001-1(b), A RESPONSE IS REQUIRED

TO THIS MOTION, OR THE ALLEGATIONS IN THE MOTION MAY BE DEEMED
ADMITTED, AND AN ORDER GRANTING THE RELIEF SOUGHT MAY BE
ENTERED BY DEFAULT.

ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK OF THE
UNITED STATES BANKRUPTCY COURT AT 1100 COMMERCE ST #1254, DALLAS,
TX 75242 BEFORE CLOSE OF BUSINESS ON MARCH 5, 2018, WHICH IS AT LEAST
14 DAYS FROM THE DATE OF SERVICE HEREOF. A COPY SHALL BE SERVED
UPON COUNSEL FOR THE MOVING PARTY AND ANY TRUSTEE OR EXAMINER
APPOINTED IN THE CASE. ANY RESPONSE SHALL INCLUDE A DETAILED AND
COMPREHENSIVE STATEMENT AS TO HOW THE MOVANT CAN BE
“ADEQUATELY PROTECTED” IF THE STAY IS TO BE CONTINUED.

TO THE HONORABLE HARLIN D. HALE, UNITED STATES BANKRUPTCY JUDGE:

National Union Fire Insurance Company of Pittsburg, Pa. and Commerce and Industry
Insurance Company, subsidiaries of American International Group, Inc. (“AIG”), file this Motion
for Relief from the Automatic Stay pursuant to Bankruptcy Code Sections 362(d)(1) and/or (d)(2)
to allow payment of insurance policy proceeds to AIG and for AIG to perform bond obligations

AIG’s MOTION FOR RELIEF FROM THE AUTOMATIC STAY PAGE 1
REGARDING BONDS AND INSURANCE POLICY
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relating to oil and gas leases that the Trustee conveyed by quitclaim deed from the Debtor to the
State of California. AIG respectfully states:

I.
JURISDICTION & VENUE

1. This Court has jurisdiction over this proceeding pursuant to 28 U.S.C §§ 157 and
‘ 362. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(G). Venue is proper
pursuant to 28 U.S.C. §§ 1408 and 1409.

Il.
BACKGROUND

A, Procedural Background

2. Debtor filed a voluntary Chapter 11 bankruptcy proceeding on August 8, 2016 (the
“Petition Date.’’)

3. As of the Petition Date, Debtor owned and operated oil and gas interests, and
Debtor was a lessee on three leases on properties in the coastal waters of California: PRC 1466.1
(what is known as the “Rincon Island Lease”); and PRC 145.1 and PRC 410.1 (the “Shoreside
Leases”) (collectively “Leases.”).

4. This Court has approved quitclaim deeds of Debtor’s interests in the Leases from
the Trustee to the State of California. [Dkts. 338, 343]

5. On January 8, 2018, the Court converted Debtor’s matter from Chapter 11 to
Chapter 7. [Dkt. 355]

B. AIG has Bond Obligations in Connection with the Leases

6. In 2002, one of AIG’s subsidiaries, American Home Assurance Company, issued

three environmental surety bonds (“Bonds”) in connection with the Leases. Exhibit A. The Bonds

relate to post-production plugging and abandonment of wells as required by federal and state law.

AIG’s MOTION FOR RELIEF FROM THE AUTOMATIC STAY PAGE 2
REGARDING BONDS AND INSURANCE POLICY
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In 2009, another one of AIG’s subsidiaries, National Union Fire Insurance Company of Pittsburg,
Pa., replaced American Home as the surety (“AIG Surety”).

7. The California State Lands Commission was the obligee on one of these Bonds
(“SLC Bond”) and the California Department of Conservation, Division of Oil, Gas, & Geothermal
Resources was the obligee on the other two Bonds (“DOGGR Bonds”). The State Lands
Commission and the Division of Oil, Gas, & Geothermal Resources are defined collectively as the
“Obligees.”

8. On July 24, 2017, demand was made by the State Lands Commission to AIG Surety
on the SLC Bond. Exhibit B.

9. On January 25, 2018, demand was made by the Department of Conservation,
Division of Oil, Gas, & Geothermal Resources on the DOGGR Bonds. Exhibit C.

10. | The Bonds are secured by an insurance policy (the “Policy”) issued by another AIG
subsidiary, Commerce and Industry Insurance Company (“AIG Insurer”). The Policy secures the
Bonds, and the Policy proceeds are properly payable to AIG Surety for that purpose. AIG Surety
will pay the bond amounts to the State Lands Commission pursuant to the demands from both of

the Obligees upon receipt of the proceeds and execution of a release and assignment by the

Obligees.
Ii.
ARGUMENTS & AUTHORITIES
11. There are two grounds that support a lift of the automatic stay. First, under section

362(d)(1), cause exists to lift the automatic stay to permit AIG Insurer to submit Policy proceeds
to AIG Surety in connection with the Bonds. 11 U.S.C. § 362(d)(1).
12. Second, relief from stay is proper pursuant to section 362(d)(2) because Debtor has

no equity in the property that was quitclaimed to the State of California, and the property is not

AIG’s MOTION FOR RELIEF FROM THE AUTOMATIC STAY PAGE 3
REGARDING BONDS AND INSURANCE POLICY
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necessary to an effective reorganization. Id. § 362(d)(2).

IV.
REQUEST FOR RELIEF

For the foregoing reasons, AIG respectfully requests that the Court enter an order lifting
the automatic stay to permit AIG Insurer to perform on the Policy to provide proceeds to AIG
Surety in connection with the Bonds and for AIG Surety to pay on the Bonds pursuant to the

Obligees’ instructions, and for such other and further relief as is just and equitable.

DATED: February 20, 2018

Respectfully submitted,
LANGLEY LLP

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COUNSEL FOR CREDITOR AIG

CERTIFICATE OF CONFERENCE

 

I certify that, on February 14, 2018, I spoke with Trustee Jason Searcy regarding the relief
requested in this Motion and he is unopposed.

/s/ Keith A, Langley
Keith A. Langley

AIG’s MOTION FOR RELIEF FROM THE AUTOMATIC STAY PAGE 4
REGARDING BONDS AND INSURANCE POLICY
Case 16-33174-hdh7 Doc 372 Filed 02/19/18 Entered 02/19/18 16:04:52 Page 5 of 14

CERTIFICATE OF SERVICE

I certify that a true and correct copy of the foregoing has been served by electronic notice
on all persons requesting notice under the ECF filing system for the Northern District of Texas,
and by U.S. Mail, postage paid, to each interested party on the attached service list in accordance
with the Federal Rules of Civil Procedure, on or before the 20th day of February, 2018.

/s/ Keith A. Langley
Keith A. Langley

 

AIG’s MOTION FOR RELIEF FROM THE AUTOMATIC STAY PAGE 5
REGARDING BONDS AND INSURANCE POLICY
Case 16-33174-hdh7 Doc 372 Filed 02/19/18 Entered 02/19/18 16:04:52 Page 6 of 14

Label Matrix for local noticing
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Case 16-33174-hdh7

Northern District of Texas
Dallas

Mon Feb 19 14:45:06 CST 2018

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oe - 3. The preferred mailing address (p) above has been substituted for the following entity/entities as so specified

Gy Fy by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f} and Fed.R.Bank.P, 2002 (g} (4).

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{u)-Punta Gorda Resources, LLC (u} UBS AG (u)UBS AG, London Branch
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{d)Brian L. Holman, Esq. End of Label Matrix
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Gata Maria, CA 93458-9708

 

Internal Revenue Service
P20, Box 7346

Philadelphia, PA 19101-7346
Fee 2

 

fee and Neale
BO; Box. 4127
Santa Barbara, CA 93140-4127

HMCG ,.2Inc,
L2i Via Del Cielo
SantatBarbara, CA 93109-1427

 

Office. ofSthe United States Trustee
#008Connerce

, TX 75242-0996

 

Process Engineering Solutions
P.0, Box 5190
Bakersfield, CA 93388-5190

Burita Gorda Resources, LLC
éf6 Rutan & Tucker LLP
eibtAnton Blvd:, Suite 1400
Césta»Mesa, CA 92626-1931

 

Franchise Tax Board
P.O. Box 942857
Sacramento, CA 94257-0531

Gary Ammeraal Meter Proving
1584 Clarisse St.
Bakersfield, CA 93314

HVI Cat Canyon, Inc.
1700 Sinton Rd
Santa Maria, CA 93458-9708

JP Morgan Chase Bank, N.A.
Escrow Services

712 Main St., Sth Floor South
Houston, TX 77002-3201

KVOS, Inc.
P.O. Box 81263
Bakersfield, CA 93380-1263

Los Angeles Regional Water QC Board
320 West Fourth street

Suite 200

Los Angeles, CA 90013-2343

Marborg Industries
P.o, Box 4127
Santa Barbara, CA 93140-4127

PG&E
P.O. Box 997300
Sacramento, CA 95899-7300

Production Tool Specialties
P.O, Box 4152
Ventura, CA 93007-0152

Punta Gorda Resources, LLC
co Caroline R, Djang
Rutan & Tucker, LLP

611 Anton Blvd., Ste 1400
Costa Mesa, CA 92626-1931

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GIT, Inc.
P.O. Box 5489
Santa Maria, CA 93456-5489

Golden Empire Towing
1915 Union Ave.
Bakersfield, CA 93305

Industrial Medical Group
3070 Skyway Drive

Suite 106

Santa Maria, CA 93455-1871

James M, Garten
640 Grant Road
North Salem, NY 10560-2314

Kimray Sales & Service
34928 Gazelle Court
Bakersfield, CA 93308-9618

M.G. Taylor Equipment, Inc.
P.0, Box 637
Fillmore, CA 93016-0637

O'Briens Response Management
P.O. Box 534967
Atlanta, GA 30353-4950

Pacific SeaTech

110 N. Olive

Suite M

Ventura, CA 93001-2570

Pros. Incorporated
P.0. Box 20996
Bakersfield, CA 93390-0996

Railroad Management Company
P.O, Box 678161

Dallas, TX 75267-8161
 

Ready Refresh
P;0,- Box 856158
Louisville, KY 40285-6158

  

Silvas Oil Company, Inc.
PQ. Box 1048
Fresno,,CA 93714-1048

Sake

Southern California Edison Company

Rosemead, CA 91772-0001

  

StapleseBusiness Advantage
PO, -Box:83689
ago, IL 60696-3689

  
 

 

Swéet Oil Tool. Rental, Inc.
3521 Getty’Sé.
Bakersfield, CA 93308-5206

Boba
4687

Thompco, Inc.
899: Mission Rock Rd.
ta Paula, CA 93060-9762

 

 

UBSi} ex beach,
1285. Aveniié of the Americas
NeweYork, NY 10019-6096

   

 

United Rentals.
Bile 51122 “$4
Bos: Angeles, CA 90074-1122

og

Ventura County Tax Collector
800: S:<Victoria Ave.
Ventura, CA 93009-0001

Vision ‘Service. Plan - (CA)
#203 Box745210
SanvBrancisco, CA 94145-5210

 

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Kew Se

 

Rival Well Services, Inc.
P.O. Box 12620
Bakersfield, CA 93389-2620

Smardan-Hatcher Co.
257 Tank Farm Road
San Luis Obispo, CA 93401-7509

(p) SPRINT NEXTEL CORRESPONDENCE
ATIN BANKRUPTCY DEPT

PO BOX 7949

OVERLAND PARK KS 66207-0949

State Lands Commission
Attn: Accounting

100 Howe Ave

Suite 100-South
Sacramento, CA 95825-8202

Teresa Pearson

Miller Nash Graham & Dunn LLP
111 S.W. Fifth Avenue, Suite 3400
Portland, OR 97204-3614

U.S, Coast Guard
2703 Martin Luther King dr. Ave. SE
Washington DC 20593-7000

UBS AG, London Branch
O'Melveny & Myers Llp

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Los Angeles, CA 90071-2830

United States Trustee
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Dallas, TX 75242-0996

Ventura Vacco
4665 Ortega Street
Ventura, CA 93003-7713

Walter R, Dahl
Dahl Law, Attorneys At Law
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Rolls Scaffolding & Equipment
P.O. Box 7909
Ventura, CA 93006-7909

South Coast Oil Corporation

c/o Jeffer, Mangels, Butler & Marmaro
1900 Ave of the Stars, 7th Fl
Beverly Hills, CA 90212

Stantec
13980 Collections Center Drive
Chicago, IL 60693-0139

Steven Hinz-Tax Collector
800 South Victoria Avenue
Ventura, CA 93009-1290

Thomas & Beers
572 Poli Street
Ventura, CA 93001-2633

U.S. EPA
715 Hawthorne Street
San Francisco, CA 94105-3922

Underground Service Alert
P.O. Box 77070
Corona, CA 92877-0102

Ventura County APCD
669 Country square Drive
Ventura, CA 93003-5417

Ventura Wholesale Electric Inc.
1785 North Ventura Ave.
Ventura, CA 93001-1573

Weatherford International, LLC
2000 St. James Place

Houston, TX 77056-4123
Wesco
3233 Rio Mirada Drive
Bakersfield,..CA 93308-4945

&

   

Hestex
P.O. Box 5587
Oxnard, CA 93031-5587

Zee Medical
107 Bryant Street
Ojai, CA 93023-3309

 

Randall Newsome

éoDavid AicZdunkewicz
ANOe Travis; Suite 4200
Houston, TX 77002-2929

 

West Coast. Welding & Construction, Inc,

P.O, Box 1915
Ventura, CA 93002-1915

Westland Transportation, Inc.
3157 Gibson St.
Bakersfield, CA 93308-6111

Jason R. Searcy

Searcy & Searcy, P.C.
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Longview, TX 75606-3929

Richard §. Schmidt

The Claro Group, LLC

1221 McKinney St., Ste 2850
Houston, TX 77010-2028

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Western Fishing Services Inc.
225 Verde Oak Drive
Qak view, CA 93022-9746

X-Chem. Oilfield Chemicals
P.O. Box 971433
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Mark A. Castillo

Curtis Castillo PC

901 Main Street, Suite 6515
Dallas, TX 75202-3782

Robert W. Peddy

Gollob, Morgan, Peddy & Co., P.C.
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bof

xb 4g: The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
Bt by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C, 342(£) and Fed.R.Bank.P. 2002 (g) (4).
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Sprint

B20, Box 4181
Carol Stream, IL 60197-4181

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{v) Coast Ranch Family LLC

See

bad
&
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{u}:Punta Gorda Resources, LLC
Oe

(d)Brian L..Holman, Esq.
Musick, Peeler & Garrett, LLP
624. S:.Grand.Avenue, Suite 2000
LossAngelés, CA 90017-3321

fet
(uphas

({u)GIT, Inc.

(u) UBS AG

The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d} address.

(u)GLR, LLC

(u}UBS AG, London Branch
